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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

ANDREW DOE                                                                            PLAINTIFF

V.                                                  CIVIL ACTION NO. 3:18-CV-138-DPJ-FKB

STATE OF MISSISSIPPI; THE UNIVERSITY OF
MISSISSIPPI; STATE INSTITUTIONS OF HIGHER
LEARNING (“IHL”), ET AL.                                                          DEFENDANTS

             DEFENDANTS’ SUPPLEMENTAL BRIEF IN OPPOSITION TO
                PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       In supplemental support of his motion for summary judgment, Doe primarily relies upon

the Fifth Circuit’s recent decision in Doe v. William Marsh Rice University, claiming it has

“significant probative value” to his own Title IX claims. The circumstances in that case,

however, are a far-cry from the facts at issue in in this case and the opinion does little to support

his arguments. More fundamentally, the Fifth Circuit’s finding of a genuine dispute of material

fact under the circumstances in that case further underscores the weakness in Doe’s contention

that the Court should decide in his favor as a matter of law.

       Unlike the facts here, Rice involved two students who indisputably engaged in multiple

consensual sexual encounters, where the female student later claimed the male student

knowingly or recklessly infected her with herpes. Doe v. William Marsh Rice University, 2023

U.S. App. LEXIS 11606, *2 (5th Cir. 2023).The male student was initially accused of failing to

inform the female student of his herpes diagnosis; the university ultimately found that he had

informed her of his diagnosis but “sanctioned him anyway for failing to go further by informing

[the female student] of the risks of having sex with a herpes carrier, despite the fact that no such

appear[ed] in Rice’s student code.” Id. at *10.

       The male student argued that the female student might have contracted herpes from one
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of her other sexual partners prior to beginning her relationship with him, and that she had also

had sex with other partners without disclosing her herpes diagnosis. Id. at *10-11.The female

student expressly informed the university of her intent not to tell future sex partners of the

diagnosis, but a university official testified that the university “would not require [the female

student] to disclose to her sexual partners that she had herpes as the University was holding Doe

liable for failing to do.” Id. at *18.

        Based on those facts, the Fifth Circuit found a genuine dispute of material fact as to the

plaintiff’s Title IX claim, whether considered under an erroneous outcome, selective

enforcement, or archaic assumptions theory. Id. at *25. Specifically, the court found that the

record supported the male student’s contention that he informed the female of “his history with

herpes before the two had sex and that she may have had herpes already.” Id. at *16. The court

further observed that based on the male student’s allegations, the female student “was guilty of

the same conduct of which he was charged: fail[ing] to disclose the risk of STD transmission.”

Id. at *22. Finally, the court also found that if a jury agreed the university’s policy “arose from

the view that a more-knowledge male (Doe) had a duty to educate an unwitting female (Roe)

about the precise risks of herpes transmission,” the male student’s allegations could also support

a claim under an archaic assumptions theory. Id. at *24.

        As addressed in Defendants’ initial briefing, however, Doe’s arguments are not supported

by record proof establishing sex discrimination. Contrary to the case-specific deficiencies

pointed out by the plaintiff in Rice (which created only a dispute of fact as to the plaintiff’s Title

IX claim), Doe raises a laundry list of generic grievances related to his disciplinary proceedings

that are insufficient to support his Title IX claim. Moreover, while he attempts to argue that Doe

and Roe engaged in the same conduct—“having intercourse following the consumption of




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alcohol”—Doe has consistently maintained that both he and Roe had the capacity to consent to

sex. See, e.g., Van Overdam v. Tex. A&M Univ., 43 F. 4th 522, 528 (5th Cir. 2022) (rejecting

claim of disparate treatment where different treatment arose from the fact that “Shaw was not

accused of violating the University’s policies—only Van Overdam was.”). Doe’s assertion that

Rice supports his argument for summary judgment as to his Title IX claim is without merit.

        Doe also claims, however, that Rice supports his constitutional due process arguments.

As noted by Judge Graves in dissent, however, the plaintiff in Rice did not even assert a

constitutional due process claim. Id. at *55. Notably, the university there was a private

institution, and the plaintiff made no arguments that the university was “an arm of the state or

governmental entity [that] must comply with constitutional due process.” Id. at *55, n. 9. The

plaintiff also failed to argue a due process violation in his summary judgment briefing before the

district court or on appeal. Id. Accordingly, any discussion of due process requirements in Rice is

at best dicta.

        Moreover, while Doe passingly addresses the Fifth Circuit’s holding in Van Overdam v.

Texas A&M University, he fails to point out that in that case the court affirmed the dismissal of

the plaintiff’s Title IX and due process claims, which cuts against his claims here. 43 F. 4th 522,

529 (5th Cir. 2022). And as observed just last month by Judge Graves in Rice, the Fifth Circuit

“has yet to recognize that in university disciplinary proceedings, the accused must be given the

opportunity to question the accuser or other witnesses as part of their right to procedural due

process.” 2023 U.S. App. LEXIS 11606, *56 n. 9 (Graves, J., dissenting). Such a purported right

is particularly misplaced when an accused student’s own statements are sufficient to sustain a

university’s findings and sanctions, and where cross-examination of the complainant would have

little impact on the proceedings. Id. at *57 n. 9.




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       Based on Defendants’ original arguments in opposition to Plaintiffs’ Motion for

Summary Judgment [Doc. 196] and the Fifth Circuit’s recent precedent, the Court should deny

Plaintiff Andrew Doe’s Motion for Partial Summary Judgment [Doc. 173].

       THIS, the 15th day of June, 2023.

                                            Respectfully submitted,

                                            STATE OF MISSISSIPPI; THE UNIVERSITY OF
                                            MISSISSIPPI; STATE INSTITUTIONS OF HIGHER
                                            LEARNING (“IHL”); THE BOARD OF TRUSTEES
                                            OF STATE INSTITUTIONS OF HIGHER LEARNING;
                                            C.D. SMITH, JR.; SHANE HOOPER; TOM DUFF; DR.
                                            FORD DYE; ANN H. LAMAR; DR. ALFRED E.
                                            MCNAIR, JR.; CHIP MORGAN; HAL PARKER;
                                            ALAN W. PERRY; CHRISTY PICKERING; DR. DOUG
                                            ROUSE; DR. J. WALT STARR; GLENN F. BOYCE;
                                            JEFFREY S. VITTER

                                            /s/ J. Andrew Mauldin
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